           Case 1:18-vv-01478-UNJ Document 62 Filed 08/06/21 Page 1 of 15




In the United States Court of Federal Claims
                         OFFICE OF SPECIAL MASTERS

*********************
MARK CROSBY,                          *
                                      *      No. 18-1478V
                  Petitioner,         *      Special Master Christian J. Moran
                                      *
v.                                    *      Filed: July 22, 2021
                                      *
SECRETARY OF HEALTH                   *      Attorneys’ fees and costs;
AND HUMAN SERVICES,                   *      reasonable basis.
                                      *
                  Respondent.         *
*********************
Michael Galasso, Robbins, Kelly, Patterson, & Tucker, LPA, Cincinnati, OH, for
petitioner;
Althea Davis, United States Dep’t of Justice, Washington, DC, for respondent.

  PUBLISHED DECISION DENYING ATTORNEYS’ FEES AND COSTS1
      Mark Crosby alleged that a trivalent influenza (“flu”) vaccination he
received on October 21, 2016, followed by a pneumococcal (Prevnar 13)
vaccination he received on January 25, 2017, caused him to develop Guillain-Barré
syndrome (“GBS”). Pet., filed Sept. 26, 2018, preamble. After he moved to
dismiss his petition, a decision found he was not entitled to compensation.
Unpublished Decision Denying Compensation, No. 18-1478V, 2020 WL 4728849
(Fed. Cl. Spec. Mstr. July 16, 2020).



       1  The E-Government Act, 44 § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services), requires that the Court post this decision on its website
(https://www.uscfc.uscourts.gov/aggregator/sources/7). Once posted, anyone can access this
decision via the internet. Pursuant to Vaccine Rule 18(b), the parties have 14 days to file a
motion proposing redaction of medical information or other information described in 42 U.S.C.
§ 300aa-12(d)(4). Any redactions ordered by the special master will be reflected in the
document posted on the website.
           Case 1:18-vv-01478-UNJ Document 62 Filed 08/06/21 Page 2 of 15




      As the Vaccine Act permits, Mr. Crosby seeks an award of attorneys’ fees
and costs. To establish his eligibility for attorneys’ fees and costs, Mr. Crosby
must demonstrate that the claims set forth in his petition were supported by
reasonable basis. The Secretary objects, maintaining that the objective evidence
does not support a finding of reasonable basis.
       The totality of evidence is insufficient to conclude that the claims in the
petition were supported by reasonable basis. Accordingly, the motion for
attorneys’ fees and costs is DENIED.
I.     Events in Mr. Crosby’s Life2
       On October 21, 2016, Mr. Crosby received a flu vaccination. Exhibit 1 at 1.
Mr. Crosby later received a Prevnar 13 vaccination on January 25, 2017. Exhibit 2
at 18.
      On or about February 1, 2017, Mr. Crosby manifested symptoms consistent
with a viral upper respiratory infection.3 By February 3, 2017, petitioner started
experiencing left hip pain. Over the next two days, his leg weakness and
numbness worsened to the point that he was unable to walk.
       On February 5, 2017, Mr. Crosby was admitted to an inpatient neurology
service. He reports that he was unable to walk due to leg weakness and was
experiencing numbness and tingling from the neck down. He was then admitted to
the ICU at Premier Health Miami Valley Hospital, where an EMG suggested he
likely suffered GBS. Exhibit 3 at 6. He received two five-day rounds of IVIG.
       Mr. Crosby was discharged from the hospital on March 17, 2017. He had
shooting pains and required 24-hour assistance for transfers and walking. Exhibit
3 at 3937. From then until April 5, 2017, Mr. Crosby underwent rehabilitation at a
skilled nursing facility. Exhibit 6 at 3.
    Mr. Crosby then saw Dr. Brammer on April 17, 2017. In his notes, Dr.
Brammer wrote that Mr. Crosby was hospitalized about two months prior for acute

       2The parties’ briefs identify relatively few medical records relevant to the question of
reasonable basis. Thus, the recitation of events is concomitantly short.
       3  Mr. Crosby “steadfastly denies having a cold or reporting such symptoms and reports
this as allergy like symptoms that have been present throughout his medical history.” Pet’r’s Br.,
filed Sept. 28, 2020, at 6. The Secretary comments that “[n]otably, petitioner has not personally
denied these complaints.” Resp’t’s Resp, filed Dec. 7, 2020, at 4.

                                                    2
        Case 1:18-vv-01478-UNJ Document 62 Filed 08/06/21 Page 3 of 15




onset of GBS. He had normal arm strength and mild weakness of the legs and feet.
Exhibit 2 at 22-23.
       On May 2, 2017, Mr. Crosby went to a follow-up appointment with his
neurologist. He had arm and ankle weakness, pain in his extremities, and could not
drive. Exhibit 7 at 26-36. In August 2017, the neurologist noted that Mr. Crosby’s
numbness had improved, and his strength had returned, though he still felt shooting
electric pain in his feet.
     On October 10, 2017, Mr. Crosby was examined by a different neurologist.
Residual sensory deficits in the extremities were noted. Exhibit 8 at 11-12.
     On December 6, 2017, Mr. Crosby’s EMG indicated evidence of continued
demyelination, supporting a GBS diagnosis. Exhibit 9 at 17.
       In May 2018, Mr. Crosby had normal strength and gait, but lingering and
persistent sensory disturbances. Exhibit 8 at 30. He reported continued
generalized fatigue in October 2018, as well as decreased sensations, subjective
muscle weakness, and numbness of extremities.
      Additional medical records do not affect the determination of whether
reasonable basis supports the claim set forth in Mr. Crosby’s petition.
II.   Procedural History
        Mr. Crosby filed a petition on September 26, 2018. Mr. Crosby alleged he
suffered from GBS “resulting from adverse effects of a trivalent influenza
vaccination administered on October 21, 2016 followed by a pneumococcal
(Prevnar 13) vaccination on January 25, 2017.” Pet. at preamble. He contends that
his injuries and GBS were “caused-in-fact” by the flu and pneumococcal vaccines.
Id. at ¶ 21. Mr. Crosby’s case was assigned to the Chief Special Master as part of
the Special Processing Unit based upon the allegations raised in the petition.
      On the same day that Mr. Crosby filed his petition, he also filed medical
records and his affidavit. Exhibits 1-11. In his affidavit, Mr. Crosby states that his
symptoms started “approximately 106 days” after his flu shot and “approximately
10 days” after his pneumococcal vaccine. Exhibit 11 at 1. He described his
symptoms as bilateral shoulder pain radiating to his back, followed by numbing
and aching from shoulder to hips and leg weakness. Id.
     A status conference was held on December 19, 2018, to discuss Mr.
Crosby’s petition and evidence. The Chief Special Master ordered Mr. Crosby to
                                             3
        Case 1:18-vv-01478-UNJ Document 62 Filed 08/06/21 Page 4 of 15




file all medical records for the three-year period before vaccination and an
amended statement of completion. After Mr. Crosby produced more records on
February 4, 2019, the Secretary filed a status report on April 4, 2019, stating that
he completed a review of the records and did not identify any missing records.
       Approximately eight months later, the Secretary filed his report. The
Secretary contested Mr. Crosby’s entitlement to compensation. The Secretary
raised two obstacles: (1) the onset of petitioner’s GBS symptoms was more than 15
weeks after his flu vaccination, and (2) petitioner did not submit an expert opinion
causally connecting the Prevnar vaccine to his GBS symptoms. Resp’t’s Rep.,
filed Oct. 4, 2019, at 5-6.
      This case was reassigned to the undersigned special master on October 9,
2019. In a subsequent scheduling order on October 21, 2021, Mr. Crosby was
directed to file additional affidavits. Mr. Crosby filed affidavits regarding damages
and onset on December 2, 2019, although he did not assign them exhibit numbers.
       In the following status conference, petitioner’s counsel stated that he was
consulting Dr. Eric Gershwin to address respondent’s Rule 4 report. Counsel
further stated that if Dr. Gershwin were unable to provide a supportive opinion, he
would likely move for dismissal. The undersigned ordered petitioner to file a
status report indicating whether Dr. Gershwin would provide a supportive opinion.
Order, issued Dec. 17, 2019.
       After multiple motions for enlargements of time, petitioner reported on April
27, 2020 that he would not be utilizing opinion testimony from Dr. Gershwin. In a
status conference on May 15, 2020, petitioner again stated he was considering
voluntarily dismissing his petition but required more time to decide. He
announced his intention to move for dismissal on June 15, 2020.
      Mr. Crosby moved for a decision dismissing his petition on July 15, 2020.
His case was then dismissed. Crosby v. Sec’y of Health & Human Servs., No. 18-
1478V, 2020 WL 4728849 (Fed. Cl. Spec. Mstr. July 16, 2020).
       Mr. Crosby requested an award of his attorneys’ fees and costs. Pet’r’s
Mot., filed July 15, 2020. The following day, Mr. Crosby was ordered to file a
brief explaining why there was reasonable basis for the petition. Before the
Secretary addressed the reasonable basis for Mr. Crosby’s claim, the Federal
Circuit issued Cottingham v. Secretary of Health & Human Services, 971 F.3d
1337 (Fed. Cir. 2020), a new precedent regarding reasonable basis determinations.


                                             4
           Case 1:18-vv-01478-UNJ Document 62 Filed 08/06/21 Page 5 of 15




       After the Federal Circuit issued Cottingham, the parties were given time to
file briefs stating their positions. To advance his argument that reasonable basis
supports the claim set forth in the petition, Mr. Crosby initially identified four
pieces of support: (1) his medical records, which included a GBS diagnosis from
his treating physicians, (2) his affidavits, (3) his retention of Dr. Eric Gershwin,
and (4) medical literature. 4 Pet’r’s Br., filed Sept. 28, 2020, at 2-4. Although not
raised prior to the September 28, 2020 brief, Mr. Crosby suggests he might have
actually suffered from chronic inflammatory demyelinating polyneuropathy
(“CIDP”) “based upon a forensic evaluation by an opinion witness.” Id. at 1.5 Mr.
Crosby contends that he was not required to categorize his injury between GBS
and CIDP to meet the reasonable basis threshold.6 Id. at 6-7.
        The Secretary disagrees. The Secretary notes that although petitioner was
diagnosed with GBS, the petition for an Off-Table Injury claim was an
acknowledgment that the onset of petitioner’s GBS symptoms occurred well
beyond the 3 to 42 day onset period codified in the Vaccine Injury Table for the flu
vaccine. Regarding Prevnar 13, the Secretary states that it “is not causally linked
to the injury alleged.” Resp’t’s Resp., filed Dec. 7, 2020, at 11. The Secretary
maintains that “there was nothing in the record when the petition was filed or
thereafter that provides even a scintilla of support for petitioner’s allegations . . . .”
Id. at 13. The Secretary concludes: Mr. Crosby’s “claim lacked a reasonable basis
when filed, and one was never established.” Id.
      In his reply brief, Mr. Crosby argues he had reasonable basis to bring the
claims in the petition “based only on the medical literature suggesting causation
between the Prevnar 13 vaccine and his injuries.” Pet’r’s Reply filed Dec. 24,
2020, at 3. Next, Mr. Crosby argues he had reasonable basis based upon potential
causation by the flu vaccine, shown in his medical records and the table.
Additionally, he states he had a reasonable basis to investigate with Dr. Gershwin
whether there was a link between the combination of vaccines and the injury as
well as to explore differential diagnoses. Id. Mr. Crosby asserts that under the

       4 In his brief, Mr. Crosby cited—but did not file—Ravishankar, Nidhi, Guillain-Barre
Syndrome Following PCV Vaccine, Clinical Surgery (April 20, 2017),
http://www.clinicsinsurgery.com/pdfs folder/cis-v2-id1413.pdf.
       5
           Mr. Crosby did not identify the person who performed this “forensic evaluation.”
       6  The potential of a CIDP diagnosis / theory had not been discussed by Mr. Crosby prior
to this fees’ applications filings. The Secretary notes that no medical records or expert reports
discuss a diagnosis of CIDP. Resp’t’s Resp., filed Dec. 7, 2020, at 8, n.6.

                                                    5
           Case 1:18-vv-01478-UNJ Document 62 Filed 08/06/21 Page 6 of 15




totality of these circumstances, he had a reasonable basis to assert the claims in his
petition until the point when he moved for dismissal.
       After the issuance of the Federal Circuit’s decision in James-Cornelius v.
Secretary of Health & Human Services, 984 F.3d 1374 (Fed. Cir. 2021), the parties
were subsequently provided with an additional opportunity to submit supplemental
briefs on the issue of reasonable basis in light of the developments from this case.
Mr. Crosby filed his supplemental brief on March 9, 2021, and the Secretary filed
his response on March 23, 2021.
      In his brief, Mr. Crosby reiterates the sufficiency of the combination of his
medical record and affidavit evidence to support reasonable basis, as well as
circumstantial evidence suggesting causation. Mr. Crosby argues (1) his medical
records contain objective evidence supporting a reasonable basis because the
records demonstrate the vaccines were administered and his treating physicians
diagnosed him with GBS. Similarly, Mr. Crosby argues (2) his affidavits are
objective evidence supporting reasonable basis by further showing the vaccine
administrations and injury. Analogizing to the petitioner in James-Cornelius who
asserted “re-challenge” as supporting reasonable basis, Mr. Crosby notes (3) he
investigated whether he actually suffered CIDP or an injury based upon a cytokine
storm. Mr. Crosby also analogizes (4) the medical articles he submitted indicating
possible causation to the submission of three medical articles in James-Cornelius.7
Pet’r’s Suppl. Br., filed Mar. 9, 2021.
       While the Secretary acknowledges that affidavits and medical records can
constitute evidence supporting reasonable basis, he argues Mr. Crosby has not met
his burden here. The Secretary maintains that the affidavits are consistent with the
medical records but that they only establish the onset of GBS and describe Mr.
Crosby’s symptoms. Resp’t’s Suppl. Br., filed Mar. 23, 2021, at 7. The Secretary
distinguishes the present case from James-Cornelius by noting in that case, a
treating physician submitted a VAERS report, whereas here, Mr. Crosby’s medical

       7 In this brief, petitioner again cited the Ravishankar article, which remains unfiled.
Petitioner also cited---but did not file---another article: Papathanasiou et al., Clinical
Heterogeneity of Guillain-Barre Syndrome in the Emergency Department: Impact on Clinical
Outcome, 2016 CASE REPS. IN EMERGENCY MED. 1 (Sept. 2016) (Article ID 4981274).
        With petitioner’s March 9, 2021 brief, petitioner filed two articles not previously
submitted: Dimachkie et al., Guillain-Barre Syndrome and Variants, 31 NEUROLOGIC CLINICS
491 (May 2013); Fokke et al., Diagnosis of Guillain-Barre syndrome and validation of Brighton
Criteria, 137 BRAIN, J. OF NEUROLOGY 33 (Jan. 2014). Petitioner did not assign the next
consecutive exhibit number to either the Dimachkie or Fokke articles.

                                                  6
        Case 1:18-vv-01478-UNJ Document 62 Filed 08/06/21 Page 7 of 15




records contain no notations of treaters associating his vaccination(s) with his
GBS. Id. at 6. The Secretary argues that petitioner’s reasonable basis claim turns
on whether objective evidence exists in the record to support vaccine causation.
Id. at 5.
       Mr. Crosby’s motion is ready for adjudication.
III.   Standards for Adjudication
      Petitioners who have not been awarded compensation are eligible for an
award of attorneys’ fees and costs when “the petition was brought in good faith
and there was a reasonable basis for the claim.” 42 U.S.C. § 300aa—15(e)(1). As
the Federal Circuit has stated, “good faith” and “reasonable basis” are two separate
elements that must be met for a petitioner to be eligible for attorneys’ fees and
costs. Simmons v. Secʼy of Health & Human Servs., 875 F.3d 632, 635 (Fed. Cir.
2017).
       “Good faith” is a subjective standard. Id.; Hamrick v. Secʼy of Health &
Human Servs., No. 99-683V, 2007 WL 4793152, at *3 (Fed. Cl. Spec. Mstr. Nov.
19, 2007). A petitioner acts in “good faith” if he or she honestly believes that a
vaccine injury occurred. Turner v. Secʼy of Health & Human Servs., No. 99-544V,
2007 WL 4410030, at * 5 (Fed. Cl. Spec. Mstr. Nov. 30, 2007). The Secretary has
not challenged petitioner’s good faith here and the undersigned finds the
Secretary’s position that good faith exists to be reasonable. Accordingly, Mr.
Crosby’s eligibility for compensation turns on the question of the reasonable basis
for the petition.
       Reasonable basis, in contrast, is purely an evaluation of the objective weight
of the evidence. Simmons, 875 F.3d at 636. Because evidence is “objective,” the
Federal Circuit’s description is consistent with viewing the reasonable basis
standard as creating a test that petitioners meet by submitting evidence. See
Chuisano v. Secʼy of Health & Human Servs., No. 07-452V, 2013 WL 6234660, at
*12-13 (Fed. Cl. Spec. Mstr. Oct. 25, 2013) (explaining that reasonable basis is
met with evidence), mot. for rev. denied, 116 Fed. Cl. 276 (2014).
      In practice, it has proven difficult to define the modicum of evidence that
confers reasonable basis. When the Federal Circuit and judges of the Court of
Federal Claims have commented on the reasonable basis standard, they often do
not speak of the amount of evidence that confers reasonable basis. Instead, they
speak to the types of situations where reasonable basis cannot be said to exist. For
example, a petition based purely on “unsupported speculation,” even speculation

                                             7
        Case 1:18-vv-01478-UNJ Document 62 Filed 08/06/21 Page 8 of 15




by a medical expert, is not sufficient to find a reasonable basis. Perreira v. Secʼy
of Health & Human Servs., 33 F.3d 1375, 1377 (Fed. Cir. 1994) (“Congress must
not have intended that every claimant, whether being compensated or not under the
Vaccine Act, collect attorney fees and costs by merely having an expert state an
unsupported opinion that the vaccine was the cause in-fact of the injury.”). As
another example, when “the medical and other written records contradict the
claims brought forth in the petition,” a special master is not arbitrary in concluding
that reasonable basis for the petition did not exist. Murphy v. Secʼy of Health &
Human Servs., 30 Fed. Cl. 60, 62 (1993), affʼd without op., 48 F.3d 1236 (Fed.
Cir. 1995) (table).
       In Simmons, a judge found petitioner’s failure to submit a petition that
complied with the Vaccine Act’s requirements supported a finding that reasonable
basis for the petition did not exist. The judge reasoned that section 11(c) of the
Vaccine Act requires that petitions “be accompanied with evidence of injury [to]
ensure[] that petitioners and their counsel make some effort to establish that there
was a vaccination and an injury that may be linked to the vaccine.” Simmons v.
Sec'y of Health & Human Servs., 128 Fed. Cl. 579, 583 (2016), aff'd, 875 F.3d 632
(Fed. Cir. 2017).
       The Federal Circuit clarified the reasonable basis standard, specifically
materials that constitute objective evidence, in Cottingham v. Secretary of Health
& Human Services, stating that “failure to consider objective evidence presented in
support of a reasonable basis for a claim would constitute an abuse of discretion.”
971 F.3d 1337, 1345 (Fed. Cir. 2020). Furthermore, in categorizing medical
records as objective evidence, the Federal Circuit stated, “[m]edical records can
support causation even where the records provide only circumstantial evidence of
causation.” Id. at 1346. The Federal Circuit in Cottingham specified that “[w]e
make no determination on the weight of the objective evidence in the record or
whether that evidence establishes reasonable basis, for these are factual findings
for the Special Master and not this court.” Id. at 1347.

       Finally, in its most recent opinion regarding the reasonable basis standard,
the Federal Circuit stated that medical records, affidavits, and sworn testimony all
constitute objective evidence which may support reasonable basis. James-
Cornelius, 984 F.3d at 1379-81. The Federal Circuit further clarified that “absence
of an express medical opinion on causation is not necessarily dispositive of
whether a claim has reasonable basis.” Id. at 1379 (citing Cottingham, 971 F.3d at
1346). These two most recent decisions guide the analysis regarding what types of
evidence constitute objective evidence of reasonable basis, as originally articulated

                                             8
          Case 1:18-vv-01478-UNJ Document 62 Filed 08/06/21 Page 9 of 15




in Simmons, though the ultimate weighing of such evidence is left up to the special
master.
IV.   Analysis
       For the reasons set forth below, Mr. Crosby has not established a reasonable
basis for his claim. Although Mr. Crosby presents some evidence to support his
claim, the weight of the evidence—even at the standard that is lower than the
preponderance of the evidence standard—is insufficient to support the claim that
the administered vaccine(s) caused his injuries.
      Through his briefs, Mr. Crosby has identified five points, which, to him,
support a finding of reasonable basis. These are: (A) Mr. Crosby’s affidavit, (B)
Mr. Crosby’s medical records, (C) his retention of Dr. Gershwin, (D) a potential
misdiagnosis, and (E) medical literature. These topics will be discussed in turn.
      A.      Mr. Crosby’s Affidavit

       In Mr. Crosby’s affidavit, he avers: “It is my belief that the injuries I have
sustained including the diagnosis of Guillain-Barré Syndrome were caused by the
trivalent influenza vaccination that I received on October 21, 2016 and the 13-
polyvalent pneumococcal conjugate vaccine on January 25, 2017.” Exhibit 11
(affidavit) ¶ 12. However, Mr. Crosby’s belief supports his good faith, a condition
separate from reasonable basis required for eligibility for attorneys’ fees. See
James-Cornelius, 984 F.3d at 1380 (“lay opinions as to causation or medical
diagnosis may be properly characterized as mere ‘subjective belief’ when the
witness is not competent to testify on those subjects.”). Mr. Crosby does not
provide evidence to establish that he has the requisite knowledge, training, or
education to opine on the cause of his GBS. 8
       If a petitioner, like Mr. Crosby, could establish the reasonable basis for the
claim set forth in the petition simply by filing an affidavit, then the reasonable
basis requirement would be meaningless. Thus, the undersigned declines to give
much weight to Mr. Crosby’s affidavit opinion as to the cause of his alleged illness
in determining whether reasonable basis supports the claim in his petition that the
vaccination(s) caused his GBS.


      8
       On the other hand, Mr. Crosby’s affidavit can confirm when he received
the vaccinations. See exhibit 11 ¶¶ 3-4.

                                             9
       Case 1:18-vv-01478-UNJ Document 62 Filed 08/06/21 Page 10 of 15




      B.     Mr. Crosby’s Medical Records and GBS Diagnosis

      Similarly, the medical records here do not establish reasonable basis.
Cottingham held that a petitioner “must point to evidence of a causal relationship
between the administration of the vaccine and her injuries in order to establish that
a reasonable basis for the claim existed when the petition was filed.” 971 F.3d at
1346. James-Cornelius added “the quantum of objective evidence needed to
establish reasonable basis for a claim, including causation, is ‘lower than the
preponderant evidence standard required to prove entitlement to compensation,’
but ‘more than a mere scintilla.’” 984 F.3d at 1379 (Fed. Cir. 2021) (quoting
Cottingham, 971 F.3d at 1346).

      Although the medical records show that Mr. Crosby received covered
vaccines, and developed GBS after receiving two vaccinations, they do not provide
evidence of causation. After Mr. Crosby’s October 21, 2016 influenza vaccination
and January 25, 2017 Prevnar 13 vaccination, on or about February 1, 2017, he
reportedly developed symptoms consistent with a viral upper respiratory infection.
Two days later he developed intense hip pain. Mr. Crosby was admitted to an
inpatient neurology service on February 5, 2017. He was experiencing numbness
and tingling from the neck down. Mr. Crosby was admitted to the ICU, where an
EMG suggested a likely GBS diagnosis. After receiving two five-day rounds of
IVIG, Mr. Crosby was discharged on March 17, 2017. Exhibit 3 at 3937. As such,
the onset of Mr. Crosby’s GBS would be 105 days after the influenza vaccination,
nine days after the Prevnar 13 vaccination, and two days after an upper respiratory
infection. Mr. Crosby also appears to rely on a note from Dr. Brammer on April
17, 2017, which states Mr. Crosby was hospitalized two months prior for acute
onset of GBS. Exhibit 2 at 22.
        The critical question is whether the medical records support the allegation
in the petition that a vaccination caused Mr. Crosby’s GBS. Chuisano, 116 Fed.
Cl. at 287 (“Temporal proximity is necessary, but not sufficient.”). On this point,
the collection of medical records is not dispositive about reasonable basis for two
reasons. First, the onset of Mr. Crosby’s GBS symptoms occurred more than 15
weeks after his flu vaccine. No evidence has been proffered in this case to support
a finding that the flu vaccine can cause GBS more than six weeks after vaccination.
See Caron v. Sec'y of Health & Human Servs., No. 15-777V, 2017 WL 4349189,
at *10 (Fed. Cl. Spec. Mstr. Sep. 7, 2017) (rejecting five-month interval in context
of multiple vaccines and the onset of a form of osteomyelits), mot. for rev. denied,
136 Fed. Cl. 360, 389-90 (2018); Conte v. Sec'y of Health & Human Servs., No.
17-403V, 2020 WL 5743696, at *26 (Fed. Cl. Spec. Mstr. July 27, 2020) (rejecting
                                            10
       Case 1:18-vv-01478-UNJ Document 62 Filed 08/06/21 Page 11 of 15




a twelve-week onset in a flu-CIDP case and remarking that eight weeks appears to
be the maximum onset time frame deemed reasonable in the Vaccine Program);
Pearson v. Sec'y of Health & Human Servs., No. 16-9V, 2019 WL 3852633, at *16
(Fed. Cl. Spec. Mstr. July 31, 2019) (finding, in a flu-TM case, that a “74-day
onset period is medically and scientifically unacceptable”) (citing cases); Kamppi
v. Sec'y of Health & Human Servs., No. 15-1013V, 2019 WL 5483161, at *11
(Fed. Cl. Spec. Mstr. July 24, 2019) (stating that “[s]pecial masters in the Program
have not awarded compensation when onset occurs more than two months after
vaccination” in flu-GBS cases) (citing cases). Second, the Secretary asserted that
“petitioner did not cite to anything in his medical records to support his causation-
in-fact claim, and none of his treating physicians indicated that there was a
relationship – temporal or otherwise – between his flu and pneumococcal vaccines
and his condition.” Resp’t’s Resp., filed Dec. 7, 2020, at 10. While Mr. Crosby
has responded to other aspects of the Secretary’s challenge to reasonable basis, Mr.
Crosby has not refuted this point.
       In contrast, many petitioners are able to show evidence of causation in
medical records based on the statements or opinions of their treating physicians.
For example, see Bogdan v. Sec’y of Health and Human Servs., No. 16-1681V,
2019 WL 1528297, at *5 (Fed. Cl. Spec. Mstr. Mar. 13, 2019); Stewart v. Sec’y of
Health and Human Servs., No. 06-777V, 2011 WL 3241585, at *8 (Fed. Cl. Spec.
Mstr. July 8, 2011). Here, Mr. Crosby has not cited to any opinion by any of his
treating physicians to suggest that they opined that his GBS was vaccine related.
      C.     Retention of an Expert Opinion Witness

      Mr. Crosby retained Dr. Eric Gershwin hoping that he would provide a
supportive opinion in this case. However, as counsel notes in the motion for
attorneys’ fees, Dr. Gershwin “determined that he could not provide an opinion on
causation as to GBS and either the influenza or pneumococcal vaccinations
administered to [Mr.] Crosby based primarily on the temporal proximity between
vaccination and injury.” Pet’r’s Mot., filed Sept. 28, 2020, at 3. Consultation with
an expert who does not ultimately provide a supportive opinion is insufficient
evidence to support reasonable basis for the claims in the petition. Chuisano, 116
Fed. Cl. at 291 (“Further undercutting petitioner’s assertion that she had a
reasonable basis for bringing her claim is the refusal of the three consulted
immunologists to opine favorably about causation”).




                                            11
       Case 1:18-vv-01478-UNJ Document 62 Filed 08/06/21 Page 12 of 15




      D.     CIDP as an Alternative Diagnosis

       In his briefs supporting attorneys’ fees, Mr. Crosby raised the issue of
potential misdiagnosis for the first time. He states he may have suffered CIDP
“based upon a forensic evaluation by an opinion witness.” Pet’r’s Br., filed Sept.
28, 2020, at 1; see also Pet’r’s Suppl. Br., filed Mar. 9, 2021, at 6. This argument
fails for multiple reasons. First, an evaluation of reasonable basis must be based
upon “objective” evidence. Simmons, 875 F.3d at 636. A statement by an
attorney who represents a petitioner, referencing an out of court statement by an
unidentified doctor, does not constitute evidence on which a finding of reasonable
basis can be based. See Chuisano, 2013 WL 6234660, at *23.
      Second, the assertion that Mr. Crosby suffers from CIDP and not GBS
contradicts the multiple medical records in which doctors who treated Mr. Crosby
diagnosed him with GBS. See exhibit 1 at 3 (stating “recovering from GBS”);
exhibit 3 at 6 (“EMG revealed segmental demyelinating peripheral neuropathy
consistent with AIDP (GBS)”); exhibit 6 at 40 (patient “admitted to the hospital in
february and was dx with GBS”); exhibit 7 at 26 (patient “was diagnosed with
GBS”); Pet. Ex. 8 at 3 (visit to discuss “current meds, recent GBS”); exhibit 10 at 3
(“Primary Medical Diagnosis: GBS”).
      Third, the petition alleges that the vaccinations caused Mr. Crosby to suffer
GBS. Because reasonable basis is linked to the “claim for which the petition was
brought,” 42 U.S.C. § 300aa–15(e)(1), counsel’s argument about a condition other
than the condition identified in the petition is misplaced.
       Fourth, even if Mr. Crosby properly pled that he suffered CIDP, Mr.
Crosby’s briefs fail to develop any remotely persuasive argument as to why a
diagnosis of CIDP would make the claim that either vaccination caused him to
suffer CIDP more plausible. Mr. Crosby’s case would suffer from the same
infirmities, such as lack of support from a medical professional, either a doctor
who treated Mr. Crosby or one who presented an opinion in this litigation.
      E.     Mr. Crosby’s Medical Literature

      When ordered to file a brief explaining reasonable basis, Mr. Crosby cited
(and sometimes filed) medical articles that he did not submit during the entitlement
phase of the case. Mr. Crosby contends that he established reasonable basis “based
only on the medical literature suggesting causation between the Prevnar 13 vaccine
and his injuries.” Pet’r’s Reply, at 3.

                                            12
       Case 1:18-vv-01478-UNJ Document 62 Filed 08/06/21 Page 13 of 15




      Generally speaking, medical literature is objective evidence relevant to
establishing a reasonable basis for a claim. Whether the medical literature is
persuasive and whether it is sufficient to establish reasonable basis is a fact
question for the special master. See Cottingham, 971 F.3d at 1347.
     Across his various briefs, Mr. Crosby cites four articles, of which he filed
two. The two articles he filed (but lack an exhibit number) are by Dimachkie and
Fokke. The cited (but unfiled) articles are by Papathansiou and Ravishankar.
These are discussed in turn.
      The Dimachkie article, “Guillain-Barré Syndrome and Variants,” contains a
discussion of broad aspects of the disease. Topics include the clinical features,
laboratory features, treatment plans, and prognosis. The authors note that GBS is
presumed autoimmune, but the precise molecular pathogenesis and its variants
remains uncertain. Regarding vaccinations, the authors discuss the increased
incidence of GBS after the 1976 swine flu vaccines and state that other vaccines
have been associated with GBS, though less frequently than the flu vaccine. Six-
weeks is suggested as the time in which GBS would develop following flu
vaccination. The article does not discuss other vaccines, such as Prevnar.
       The Fokke et al. article focuses on the Brighton diagnostic criteria for GBS.
Primarily, the discussion focuses on the need for accurate diagnostic measures to
improve patient care and research. The article discusses how Brighton criteria may
be used to better identify patients for vaccine safety studies. However, the article
is bereft of content discussing pneumococcal vaccines or GBS onset more than six
weeks after flu vaccination.
       The Papathansiou article discusses three case reports of GBS, highlighting
the clinical heterogeneity of the presentation of GBS in these three people. It notes
that clinical diagnosis of GBS in the emergency room can be challenging. The
article does not discuss anything about vaccinations or the causes of GBS.
       These three articles Mr. Crosby put forward do not provide the necessary
support. None of these articles discuss pneumococcal vaccines causing GBS, or
the flu vaccine causing GBS almost 15 weeks after vaccination. Thus, after the
undersigned’s review of them, their relevance is not readily apparent.
Furthermore, Mr. Crosby’s briefs do not persuasively illuminate why these articles
are relevant to the issue of reasonable basis.
      The other article Mr. Crosby referenced (Ravishankar) is a case report that
discusses one 66-year-old female who developed GBS approximately seven weeks

                                            13
       Case 1:18-vv-01478-UNJ Document 62 Filed 08/06/21 Page 14 of 15




after administration of a PCV-23 vaccine. See Nidhi Ravishankar, Guillain-Barre
Syndrome Following PCV Vaccine, 2 CLINICAL SURGERY 1 (April 20, 2017),
http://www.clinicsinsurgery.com/pdfs folder/cis-v2-id1413.pdf. The article
acknowledges that the literature discussing the association of GBS following
pneumococcal vaccine is sparse but nonetheless proposes a possible etiology
involving PCV vaccination. Mr. Crosby did not submit an accompanying
statement from an expert explaining the significance of the article.
       After considering the article, the undersigned declines to give substantial
weight to this article for multiple reasons. First, the subject of the Ravishankar
article received a different vaccine immediately before developing GBS, making
reasoning from Ravishankar difficult. See Deschler v. Sec’y of Health & Human
Servs., No. 16-1070V, 2020 WL 4593162, at *5 (Fed. Cl. Spec. Mstr. July 1,
2020); see also Ravishankar at 2 (“There are two types of pneumococcal vaccines,
plain and conjugated, that have different mechanisms”). Second, as a single report,
the article carries less persuasive value than larger studies or meta-analyses. In
general, case reports provide little, if any, information helpful to determining
causation because they present only a temporal sequence of events in which the
vaccination preceded an adverse health event. See K.O. v. Sec’y of Health &
Human Servs., No. 13-472V, 2016 WL 7634491, at *11-12 (Fed. Cl. Spec. Mstr.
July 7, 2016) (discussing appellate precedent on case reports).
       Third, Ravishankar does not conclude that there is a causal association
between the PCV vaccination and GBS. Mr. Crosby did not submit any statement
explaining the article or have Dr. Gershwin, or any other experts, submit a report
explaining its significance. Without a statement from Dr. Gershwin, or another
expert regarding how the article relates to his situation, Mr. Crosby is left to rely
upon inferences about causation made by his attorney. But, an attorney’s argument
carries less value than an opinion from an expert. See Gilda Industries, Inc. v.
United States, 446 F.3d 1271, 1281 (Fed. Cir. 2006).
      Fourth, even if the Ravishankar article could justify the finding that
reasonable basis supports the assertion that the Prevnar vaccine can cause GBS,
Mr. Crosby would face an additional gap. Mr. Crosby would still need some
objective evidence to support the finding that the Prevnar vaccine caused his GBS
specifically. While this evidence might come in a variety of forms, the evidence
that Mr. Crosby has presented in this case is not enough.
      Fifth, on a procedural note, Mr. Crosby did not file or cite this article during
the entitlement phase. Indeed, Mr. Crosby has never filed the article. Even if it
had been filed during the pendency of the underlying entitlement portion of the
                                             14
       Case 1:18-vv-01478-UNJ Document 62 Filed 08/06/21 Page 15 of 15




case, it alone does not establish reasonable basis. Although the Ravishankar article
counts as some objective evidence supporting causation, due to the facts of this
case, its value is significantly limited.
      In sum, the undersigned has considered each argument Mr. Crosby advanced
both individually and holistically. Mr. Crosby has not carried his burden of
establishing the reasonable basis that the vaccination(s) caused his GBS. This
burden, as pointed out above, is less than the preponderance of the evidence, and,
therefore, easier to satisfy. But, even under this lower burden of proof, the
reasonable basis for Mr. Crosby’s claim has not been established.
      In setting the reasonable basis standard, Congress did not intend for every
claimant to “collect attorney fees and costs by merely having an expert state an
unsupported opinion that the vaccine was the cause in-fact of the injury.” Perreira
v. Sec’y of Health & Human Servs., 33 F.3d 1375, 1377 (Fed. Cir. 1994). Based
upon this Federal Circuit precedent, a judge of the Court of Federal Claims has
stated: “Fee denials are expected to occur.” Chuisano, 116 Fed. Cl. at 286.
V.    Conclusion
        Mr. Crosby’s motion for attorneys’ fees and costs is denied on the ground
that he did not establish that he is eligible for an award. The Clerk’s Office is
instructed to enter judgment in accord with this decision unless a motion for review
is filed.
      IT IS SO ORDERED.
                                             s/Christian J. Moran
                                             Christian J. Moran
                                             Special Master




                                            15
